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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                         v.                            Case No. 21-cr-85 (CRC)

 JOHN HERBERT STRAND,

                         Defendants.

                                       PRE-TRIAL ORDER

        In order to administer the trial of the above-captioned criminal case in a manner that is

fair and just to the parties and is consistent with the goal of completing the trial of this case in the

most efficient manner, it is hereby

        ORDERED that counsel shall comply with each of the following procedures and

requirements:

        1.       TRIAL. Trial of this matter will commence on July 18, 2022, at 9:00 a.m. in a

Courtroom to be determined according to the applicable courthouse protocols regarding the on-

going COVID-19 pandemic.

        2.       PRE-TRIAL CONFERENCE. A pre-trial conference will be held on July 14,

2022, at 11:00 a.m. via videoconference, provided the defendant consents. The Court will rule

on all pre-trial motions and objections to proposed exhibits, to the extent possible, at the pre-trial

conference, hearing argument as necessary.

        3.       SUPPRESSION MOTIONS. Any motions to suppress statements or tangible

things shall be filed on or before May 12, 2022. Opposition and replies shall be due within 14

and 7 days, respectively. The Court will schedule a hearing on the motion(s) as necessary.




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       4.       PRE-TRIAL MOTIONS. All other pre-trial motions, including motions in

limine, shall be filed on or before May 20, 2022. Oppositions and replies shall be due within 14

and 7 days, respectively.

       5.       VOIR DIRE. Counsel shall jointly submit both a short narrative description of

the case, to be read to the prospective jurors, and proposed voir dire questions on or before July

5, 2022.

       6.       PROPOSED JURY INSTRUCTIONS. Counsel shall file proposed jury

instructions and a proposed verdict form—jointly to the extent possible—on or before July 12,

2022. To the extent that they are pattern jury instructions from the current version of the

Redbook, it is sufficient simply to list the numbers of those instructions. Special instructions

shall be submitted verbatim with citations to cases and other authorities to support each

instruction. Proposed instructions shall be filed on ECF. In addition, a set of the instructions

shall be emailed to Chambers (c/o Lauren_Jenkins@dcd.uscourts.gov) in MS Word form.

       7.       BRADY AND GIGLIO. The Government is under a continuing and ongoing

obligation to provide defense counsel any favorable or exculpatory information (Brady), whether

or not admissible in evidence. Brady information must be disclosed on a rolling basis—“the

duty to disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). To the extent it

has not already done so, the Government must disclose information that may be useful for

impeachment or may otherwise affect the credibility of any Government witness (Giglio)—

including Lewis material—on or before June 27, 2022. See United States v. Celis, 608 F.3d

818, 835–36 (D.C. Cir. 2010). Giglio obligations are also ongoing. Should the Government

request it, the Court will enter a protective order precluding counsel from sharing Giglio

information with their clients.



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       8.       EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use

in their cases-in-chief by June 27, 2022. The parties shall file objections to the admissibility of

exhibits to the extent practicable by July 6, 2022. All exhibits are to be marked in advance of

trial and listed in order on the exhibit form obtained from Courtroom Deputy Clerk Lauren

Jenkins. The written list of exhibits must contain a brief description of each exhibit. At the

commencement of trial, counsel shall furnish the Court with two sets of binders containing their

exhibit lists and copies of their pre-marked exhibits.

       9.       WITNESS LISTS. The Government shall provide its list of witnesses to the

defense (and to this Court) on or before July 13, 2022. On that same date, the Government shall

also provide to the defense all Brady or Giglio material not previously provided pertaining to

each witness on the list. In addition, each Friday during trial, the Government shall provide to

the defense an “order of call” of witnesses for the following week and Jencks Act material for

those witnesses. It must also provide a list of witnesses the Government anticipates calling on a

particular trial day no less than 36 hours in advance (if not earlier). Defendants shall provide

their witness lists to the Government (and this Court) no later than the close of the Government’s

case and the reverse Jencks material no later than the Friday before the witness is to testify.

Counsel will not be absolutely bound by the witness lists or order of call in calling their

witnesses because, on occasion, in good faith they must change an intended order of proof or

find it necessary to call a witness out of turn. In some cases, security concerns may justify non-

identification of witnesses by the Government until shortly before they are actually called.

These situations, if any, shall be brought to the Court’s attention in camera when the witness list

excluding those names is provided to defense counsel.




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       10.     JURY SELECTION. The Court will summarize its jury-selection procedures at

the pre-trial conference.

       11.     TRIAL AND PUNCTUALITY. Unless counsel are notified otherwise, the jury

portion of the trial will be conducted each trial day from 9:30 a.m. to 12:30 p.m. and from 1:45

p.m. to 5:00 p.m. on Mondays through Thursdays in the Courtroom selected in compliance

with the applicable courthouse protocols regarding the on-going COVID-19 pandemic. The

Court will consider Friday trial dates as necessary. Unless otherwise instructed by the Court,

counsel shall be present in the courtroom each morning promptly at 9:00 a.m. to address

preliminary matters. Trial will convene promptly at the designated time on each trial day and the

jury will not be kept waiting. Counsel shall be available in the courtroom at least five minutes

before Court is scheduled to begin or resume after a recess.

       11.     ELECTRONIC EQUIPMENT. Representatives of either side who intend to use

electronic equipment during the course of this trial shall promptly meet with John Cramer,

Courtroom Technology Administrator, of the Clerk’s Office (202-354-3019), to arrange for the

necessary equipment. Representatives of both sides shall meet with Mr. Cramer to become fully

conversant with the procedures for use of the equipment in the courtroom.

       12.     RECORDINGS. For all video or audio recordings to be used in this case, counsel

for both sides shall resolve any dispute between any alleged inaccuracy in the transcripts and/or

discrepancies between the transcripts and the recordings. If it proves impossible for counsel to

resolve the dispute, they shall so advise the Court at least three days before the tape is to be

offered so that the Court may resolve the dispute efficiently and avoid any delay to the parties,

the jury, and the Court.




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       13.      GENERAL COURTROOM RULES. The Court expects counsel to exercise

civility at all times toward each other and toward everyone involved in the case or working with

the Court.

             a. Unless leave is otherwise given, counsel shall interrogate witnesses and make

                opening statements and closing arguments from the lectern and shall speak into

                the microphone.

             b. Counsel shall obtain permission from the Court before approaching a witness.

             c. One counsel for the Government and one counsel for each Defendant shall be

                designated as lead counsel for each and every witness, for purposes of direct

                examination, cross-examination, redirect examination, and raising objections.

             d. The Court will strictly apply the rules on rebuttal evidence. See Black’s Law

                Dictionary (9th ed. 2009) (defining “rebuttal evidence” as “[e]vidence offered to

                disprove or contradict the evidence presented by an opposing party”).

             e. Counsel are reminded that the traditional rules regarding opening statements and

                closing arguments will be enforced by the Court.

             f. All statements by counsel should be directed to the Court and not to opposing

                counsel.

             g. Counsel are reminded that their own opinions regarding facts or issues in a case

                are irrelevant and should not be communicated to the jury (e.g., “I think . . . , we

                believe . . .”).

             h. Counsel are reminded to secure clearance from the Court before posing questions

                or engaging in procedures in the presence of the jury that carry a risk of undue

                prejudice, or that by law or customary procedures require judicial pre-approval.



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             i. Unless otherwise permitted by the Court, counsel shall refer to all witnesses over

                the age of 18, including their clients, as “Mr.” or “Ms.” or by their official title

                (e.g., “Captain” or “Dr.”). The use of first names or nicknames is prohibited. All

                witnesses are to be addressed in a respectful and polite manner.

       14.      DIRECT AND CROSS-EXAMINATION. On direct and cross-examination of a

witness, counsel shall not:

             a. Testify by improperly incorporating facts into their questions so as to put before

                the jury information that has not been received in evidence;

             b. Use an objection as an opportunity to argue or make a speech in the presence of

                the jury;

             c. Show the jury a document or anything else that has not yet been received in

                evidence without leave of the Court. If counsel is using electronic equipment to

                display documents to the jury and the Court, counsel shall make sure that the

                document has been admitted in evidence before it is shown to the jury; or

             d. Except in extraordinary circumstances, be permitted to recross-examine any

                witness.

       15.      OBJECTIONS AND EVIDENTIARY MATTERS. Any legal matters or

evidentiary issues that arise during the course of the trial and have not been the subject of a

motion in limine or pre-trial motion should be discussed between counsel no later than the night

before the witness or exhibit is to be offered. If there is no resolution, the proponent of the

objection or evidence shall email to Chambers and to opposing counsel that evening or, in any

case, no later than 7:00 a.m. the next morning, in succinct terms, a statement of the

evidentiary issue or objection and their position, with legal authority. The opposing party shall



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email by no later than 8:00 a.m. the contrary position with legal authority. The Court will

discuss and rule during the time for preliminary matters each morning. In this way the jury will

not be kept waiting while legal issues are discussed and resolved.

       16.     OBJECTIONS AT TRIAL. Bench conferences are discouraged. 1 Counsel who

make objections during trial must state the legal basis for their objections without elaboration or

argument (unless invited)—e.g., “objection, hearsay,” “objection, lack of foundation.” The

Court will generally rule on the objection without additional discussion except in the most

critical areas. For purposes of “protecting the record” and assisting appellate review, counsel

may explain or amplify their objections on the record after the jury has been excused for a break,

for lunch, or for the day.

       17.      WAIVER OF BENCH CONFERENCES. Counsel may arrange with the

Courtroom Deputy Clerk, Lauren Jenkins, to permit Defendants to listen to bench conferences

through a headset. They will not be permitted at the bench.

       18.     RULE ON WITNESSES. Except for the parties or their authorized

representatives permitted under Rule 615 of the Federal Rules of Evidence and any expert

witnesses, all witnesses shall remain outside the courtroom except while actually testifying.

Unless permission for a witness to remain in the courtroom is expressly sought and granted, the

rule on witnesses is always in effect, even during voir dire and opening statements. Counsel

shall instruct witnesses not to discuss their testimony with others after they leave the stand.

Except for a Defendant-witness (because of Sixth Amendment implications), counsel calling a

witness to testify, and counsel’s agents, should have no further discussions with that witness



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  Counsel may seek to convene a bench conference if counsel is about to engage in a line of
inquiry on direct or cross-examination that reasonably necessitates preclearance, e.g., potentially
inflammatory areas of interrogation.
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concerning any aspect of the testimony already given or anticipated until such time as the

witness has completed his or her testimony. As to a Defendant-witness, counsel and their agents

are directed to the D.C. Circuit’s opinion in United States v. McLaughlin, 164 F.3d 1, 4–7 (D.C.

Cir. 1998). At all other times, within the bounds of governing ethics rules and the law, counsel

may pursue their discussions with witnesses during the trial.

       19.     WITNESSES ON CALL. Once the trial begins, witnesses shall be put on call at

the peril of the calling party. The trial will not be recessed because a witness on call is

unavailable, except in extraordinary circumstances. The Court will endeavor to accommodate

out-of-town and expert witnesses if counsel alerts the Court. The party calling a witness shall

arrange for that witness’s presence until cross-examination is completed, including the following

trial day if need be. The failure to have a witness present for cross-examination following direct

examination is grounds to strike the witness’s testimony.

       20.     PRESENCE OF COUNSEL. Once court is in session, lead counsel shall not

leave the courtroom without the Court’s express permission. Failure of counsel to be present and

on time may result in sanctions.

       21.     SUA SPONTE JURY INSTRUCTIONS. Any necessary sua sponte jury

instructions shall be written out by counsel requesting them and shall be given to the Court in a

form in which the Court might read the instructions to the jury. Failure to do so shall be deemed

a waiver of any such request. In the event that the instructions are given, it shall be counsel’s

responsibility to remind the Court of the necessity for inclusion of any sua sponte instructions in

its final charge by 4:00 p.m. on the day before the date on which the final charge is to be given

by the Court to the jury.




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       22.      VERBAL OR FACIAL CONTACT WITH THE JURY. Counsel, Defendants,

and law-enforcement personnel shall not make any verbal comments, facial expression, laughter

or other contact with the jury that could be interpreted as conveying a comment one way or the

other with respect to any testimony, argument, or event that may occur during trial. Nor shall

any such persons offer gratuitous comments or asides about witnesses’ testimony or opposing

counsel.

       23.      CLOSING ARGUMENTS AND INSTRUCTIONS. The courtroom will be

locked during jury instructions and no one will be permitted to enter or leave. In making closing

arguments, counsel shall be limited by the evidence presented during trial and are reminded of

the prohibition against appealing to the jurors’ prejudices. Moreover, during closing argument

and throughout the trial, counsel shall not:

             a. Comment adversely on the failure of Defendants to testify on their own behalf;

             b. Make statements of personal belief to the jury;

             c. Make personal attacks on other counsel in the case;

             d. Appeal to the self-interest of the jurors; or

             e. Make potentially inflammatory racial, ethnic, political, or religious comments.

       With regard to both opening statements and closing arguments, counsel are admonished

not to make statements or arguments that will engender objections. The Court will intervene sua

sponte and not wait for objections if it detects a failure to adhere to basic legal principles and

standards of civility. Failure to abide by these rules may result in sanctions.

SO ORDERED.


DATE: February 10, 2022                                 ________________________
                                                        CHRISTOPHER R. COOPER
                                                        United States District Judge

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